. Case 1:06-cr-10017-DDD-JPM Document 12 Filed 06/21/06 Page 1 of 1 PagelD #: 21

U.S. DISTRICT COURT
DISTRICT OF LOUIGIAN
WESTERN RECEINED

JUN 2 1 2006
WESTERN DISTRICT OF LOUISIANA

RORE WELL, CLERIC
By DEPUTY
REVEPORT ALEXANDRIA DIVISION

UNLTED STATES DISTRICT COURT

UNITED STATES OF AMERICA NO. CRO6-10017-01
VERSUS U.S. DISTRICT JUDGE DEE D. DRELL
MELVIN WILLIAMS ' U.S, MAGISTRATE JUDGE JAMES D. KIRK

UNITED STATES' REQUEST FOR DISCOVERY

The United States of America hereby requests that the
defendant disclose all matters listed in Paragraph (I) (a) (2) of the
Criminal Pretrial Discovery Order, including sub-paragraphs (A)

through (B).

Ged SEi00 Ae LA

Date ~ Counsel €ofAnited States

Original to be filed with Clerk of Court
Copy to be delivered to counsel for defendant
